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 3
     Attorneys for Defendant
 4
     Jeremy Gachago
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                              ) Case No.: 2:10-CR00347 MCE
     UNITED STATES OF AMERICA,                  )
10                                              ) STIPULATION AND ORDER
                  Plaintiff,                    ) CONTINUING STATUS CONFERNCE
11                                              )
           v.                                   )
12                                              )
     JEREMY GACHAGO, et al,                     )
13                                              )
                  Defendant.                    )
14
15
           It is hereby stipulated between the parties, Todd Leras, Assistant United States
16
17
     Attorney, and Michael Chastaine, attorney for Jeremy Gachago, that the status

18   conference/change of plea date of Thursday, December 6, 2012 should be continued until
19
     Thursday January 24, 2013. The continuance is necessary as counsel for Mr. Gachago is
20
     continuing to engage in negotiations with the government. The Government has
21
22   provided a plea agreement. However, the current terms are not acceptable and further
23
     negotiation with the government is required.
24
           IT IS STIPULATED that the period of time from the December 6, 2012 up to and
25
26   including January 24, 2013 be excluded in computing the time within which the trial
27   must commence under the Speedy Trial Act, pursuant to 18 U.S.C. §3161(h)(7) and
28


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     Local Code T4, for ongoing preparation of counsel. It is further stipulated that the need
 1
 2   for a continuance and continued counsel preparation outweighs the interests of the public
 3   and the defendant in a speedy trial.
 4
 5   .
 6   Dated: November 30, 2012                  By: ____/s/ Michael Chastaine
                                               MICHAEL CHASTAINE
 7                                             Attorney for Jeremy Gachago
 8
 9
10
     Dated: November 30, 2012                  BENJAMIN B. WAGNER
11                                             United States Attorney
12
                                               By: /s/ Michael Chastaine for Todd Leras___
13                                                    Todd Leras
14                                                    Assistant U.S. Attorney

15
16                                            ORDER

17          GOOD CAUSE APPEARING,

18          IT IS HEREBY ORDERED that the status conference scheduled for Thursday,

19   December 6, 2012 at 9:00 a.m. be continued to Thursday, January 24, 2013 at 9:00 a.m.

20   and that the period from December 6, 2012 to January 24, 2013 is excludable from

21   calculation under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(8)(A) and local

22   rule T4. Further, that the need for a continuance and continued counsel preparation

23   outweighs the interests of the public and the defendant in a speedy trial.

24
     Dated: December 6, 2012
25
                                            __________________________________
26                                          MORRISON C. ENGLAND, JR
27                                          UNITED STATES DISTRICT JUDGE

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